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                     FOREMOST GROUPS, INC. f/k/a FOREMOST
             7       INTERNATIONAL TRADING CO., INC.
             8
                                                UNITED STATES DISTRICT COURT
             9
                                            CENTRAL DISTRICT OF CALIFORNIA
           10
           11
                     FOREMOST GROUPS, INC. f/k/a                      Case No. CV11-7473 GAF (Ex)
           12        FOREMOST INTERNATIONAL                           Hon. Gary A. Feess
                     TRADING CO., INC.,                               Courtroom 740
           13
           14                      Plaintiff,
                                                                      XXXXXXXXXX ORDER GRANTING
                                                                      [PROPOSED]
                            vs.                                       MOTION FOR ORDER MODIFYING
           15                                                         DECEMBER 20, 2011 ORDER ON
                     AYERS BATH (USA)                                 PRELIMINARY INJUNCTION TO
           16                                                         VACATE PORTION OF ORDER
                     CORPORATION,
                                                                      REQUIRING POSTING OF
           17                                                         PRELIMINARY INJUNCTION BOND
                                   Defendant.
           18                                                         Hearing Date:     December 15, 2014
           19                                                         Hearing Time:     9:30 a.m.
                                                                      Hearing Location: Courtroom 740
           20
                     AYERS BATH (USA)
           21        CORPORATION
           22
                                   Counter-claimant,
           23
                            vs.
           24
           25        FOREMOST GROUPS, INC. f/k/a
                     FOREMOST INTERNATIONAL
           26        TRADING CO., INC.,
           27                      Counter-defendant.
           28

ACTIVE/ 77440426.1
                     XXXXXX
                     [PROPOSED] ORDER GRANTING MOTION FOR ORDER MODIFYING DECEMBER 20, 2011 ORDER ON PRELIMINARY INJUNCTION
                                  TO VACATE PORTION OF ORDER REQUIRING POSTING OF PRELIMINARY INJUNCTION BOND
         Case 2:11-cv-07473-GAF-E Document 61 Filed 12/05/14 Page 2 of 2 Page ID #:559



             1              The Court, having considered Plaintiff FOREMOST GROUPS, INC. f/k/a
             2       FOREMOST INTERNATIONAL TRADING CO., INC.’S (“Foremost” or
             3       “Plaintiff”) Motion for Order Modifying the December 20, 2011 Order on
             4       Preliminary Injunction to Vacate Portion of Order Requiring Posting of
             5       Preliminary Injunction Bond and any opposition thereto or argument thereon, finds
             6       that Foremost’s motion should be granted.
             7              IT IS HEREBY ORDERED as follows:
             8              1.      Plaintiff Foremost’s Motion for Order Modifying the
             9       December 20, 2011 Order on Preliminary Injunction to Vacate Portion of Order
           10        Requiring Posting of Preliminary Injunction Bond is GRANTED; and
           11               2.      The portion of this Court’s December 20, 2011 Order requiring
           12        Foremost to post security in the amount of $100,000 pursuant to Rule 65(c) of the
           13        Federal Rules of Civil Procedure is HEREBY VACATED.
           14
           15        IT IS SO ORDERED.
           16
           17
                            December 5, 2014
                     Dated: ______________________                 By: _________________________
           18                                                           Hon. Gary A. Feess
                                                                        United States District Court Judge
           19
           20        cc: Fiscal

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ACTIVE/ 77440426.1                                                     2
                     XXXXXX
                     [PROPOSED] ORDER GRANTING MOTION FOR ORDER MODIFYING DECEMBER 20, 2011 ORDER ON PRELIMINARY INJUNCTION
                                  TO VACATE PORTION OF ORDER REQUIRING POSTING OF PRELIMINARY INJUNCTION BOND
